
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud (Justice González sat for Justice Wiggins), considered at its October 30, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is denied. The Petitioner's "MOTION TO ACCEPT CERTIFIED TRANSLATION OF COURT OF MILAN ORDER" is also denied. The Respondent's "MOTION TO LIFT STAY" is granted.
For the Court
/s/ Fairhurst, C.J.
CHIEF JUSTICE
